       Case 2:23-cr-00034-LMA-DPC Document 20 Filed 03/22/23 Page 1 of 2
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                       *           CRIMINAL NO. 23-34

        v.                                      *           SECTION: "I"

                                                *
 ALPHONSE BAZILE
 RAYSHAUD GREEN                                 *

                                      *         *          *

                             MOTION AND INCORPORATED
                            MEMORANDUM TO UNSEAL CASE

       NOW INTO COURT comes the United States of America, appearing herein through the

undersigned Assistant United States Attorney and moves this Honorable Court to unseal the case

in the above-captioned matter. Both defendants are in custody, and it is not necessary for the case

to remain sealed.

                                                     Respectfully submitted,


                                                     DUANE A. EVANS
                                                     UNITED STATES ATTORNEY_, ___ ,
                                                      Sa...,a...k -c>~~s -fu-t ......_,~
                                                      5'.k:CrL--::
                                                     MICHAELE. TRUMMEL
                                                     Assistant United States Attorney
                                                     650 Poydras Street, Suite 1600
                                                     New Orleans, Louisiana 70130
                                                     Telephone: (504) 680-3173

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                                                                                                           ,tRmDep_ _ __
                                                                                                         .JOc.No._ __ _ _
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                             CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2023 , I filed the foregoing with the Clerk of Court and
provided a copy to all defense counsel of record via electronic mail.    •
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                                                MICHAEL E. TRUMMEL
                                                Assistant United States Attorney




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